                           UNITED STATES DISTRICT COURT
                           MIDDLE DISTRICT OF TENNESSEE
                                NASHVILLE DIVISION


UNITED STATES OF AMERICA                       )
                                               )
v.                                             )          NO. 3:13-00097
                                               )          JUDGE SHARP
MICHAEL JORDAN [5]                             )


                                          ORDER

       Pending before the Court is SEALED MOTION (Docket No. 704).

       The motion is GRANTED and the sentencing hearing scheduled for October 22, 2014, is

hereby rescheduled for Tuesday, January 6, 2015, at 1:30 p.m.

       It is so ORDERED.




                                           KEVIN H. SHARP
                                           UNITED STATES DISTRICT JUDGE




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